 Case 1:19-cv-00512-RML Document 17 Filed 08/20/19 Page 1 of 1 PageID #: 109

                     LAW OFFICE OF MOHAMMED GANGAT
               (718) 669-0714 ✦ 675 3rd Ave, Ste 1810, NY, NY 10017 ✦ mgangat@gangatpllc.com

August 20, 2019

via ECF

Hon. Robert M. Levy, U.S. M.J.
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

        Re:   Quinones v. Five Stars of Brooklyn Incorporated, et al.
              1:19-cv-00512-ENV-RML

To the Hon. Robert M. Levy:

        I am counsel for plaintiff Francisco Quinones (“Plaintiff”). I write to inform the Court
that counsel for defendants has contacted me and told me he will file a notice of appearance and
consent to the jurisdiction of the magistrate judge for all purposes in this action.
       After counsel has appeared, I will file the consent to magistrate form. I expected counsel
to appear last week, and am informed that he will appear this week.
      For these reasons, I respectfully request that Your Honor not issue a report and
recommendation with respect to the pending Cheeks motion.
       As always, I thank the Court for its time and consideration.



                                                                  Respectfully Submitted,



                                                                  Mohammed Gangat
cc:    Morris Fateha, Esq.
